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                        IN THE UNITED STATES DISTRICT COURT
9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )
12             Plaintiff,          )        NO. 2-11-mj-288 GGH
                                   )
13        v.                       )        APPLICATION AND ORDER
                                   )        FOR UNSEALING COMPLAINT
14   BRYAN SMITH, et al.,          )
                                   )
15             Defendants.         )
     ______________________________)
16
17        On September 12, 2011, the complaint was filed in the above-
18   referenced case.    Since the defendants have now been arrested, it is
19   no longer necessary for the complaint to be sealed.          The government
20   respectfully requests that the complaint be unsealed.
21   DATED: September 15, 2011              BENJAMIN B. WAGNER
                                            United States Attorney
22
23                                       By:/s/ Richard J. Bender
                                            RICHARD J. BENDER
24                                          Assistant U.S. Attorney
25                                      ORDER
     SO ORDERED:
26
     DATED: September 15, 2011
27                                        /s/ Gregory G. Hollows
                                 UNITED STATES MAGISTRATE JUDGE
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